Case 1:16-cv-00187-LPS Document 347 Filed 01/24/20 Page 1 of 3 PageID #: 11830




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

PLASTIC OMNIUM ADVANCED                           )
INNOVATION AND RESEARCH,                          )
                                                  )
                   Plaintiff,                     )
                                                  )     C.A. No. 16-187-LPS-CJB
                       v.                         )
                                                  )
DONGHEE AMERICA, INC. and                         )
DONGHEE ALABAMA, LLC,                             )
                                                  )
                   Defendants.                    )



             JOINT STIPULATION AND PROPOSED ORDER REGARDING
                         DEFENDANTS’ BILL OF COSTS

       Plaintiff Plastic Omnium Advanced Innovation and Research (“POAIR” or “Plaintiff”)

and Defendants Donghee America, Inc. and Donghee Alabama, LLC (“Donghee” or

“Defendants”), through their respective counsel and subject to the approval of this Court, hereby

enter into the following stipulation;

       WHEREAS, appeal of this Court’s Judgment in favor of Defendants and against

Plaintiff (D.I. 333) was adjudicated by the United States Court of Appeals for the Federal

Circuit (“Federal Circuit”) in favor of Defendants;

       WHEREAS, following appeal, the Federal Circuit issued its mandate on December 30,

2019 (D.I. 340);

       WHEREAS, pursuant to Federal Rule of Civil Procedure 54(d), 28 U.S.C. § 1920, and

D. Del. LR 54.1(a)(1), Defendants are the prevailing party entitled to an assessment of costs;

       WHEREAS, Defendants have filed a bill of costs (D.I. 343) and a corrected bill of costs

(D.I. 345); and

       WHEREAS, Donghee and POAIR have subsequently reached an agreement regarding
Case 1:16-cv-00187-LPS Document 347 Filed 01/24/20 Page 2 of 3 PageID #: 11831




the assessment of costs to Donghee in this matter, and that the agreed upon amount below

represents the full amount payable to Donghee for all costs incurred in this litigation that may be

recoverable under Federal Rule of Civil Procedure 54(d), 28 U.S.C. § 1920, or D. Del. LR

54.1(a)(1);

       NOW THEREFORE, IT IS HERBY STIPULATED AND AGREED TO BY THE

PARTIES, subject to the Court’s approval, that POAIR will pay Donghee an agreed amount of

$95,391.00 in costs within 30 days from the date of this Stipulation and that Donghee’s bill of

costs (D.I. 343) and corrected bill of costs (D.I. 345) are withdrawn.




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Case 1:16-cv-00187-LPS Document 347 Filed 01/24/20 Page 3 of 3 PageID #: 11832




 BARNES & THORNBURG LLP                         POTTER ANDERSON & COROON LLP


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 Dated: January 24, 2020                        Attorney for Defendants
                                                Donghee America, Inc. and
                                                Donghee Alabama, LLC




       IT IS SO ORDERED, this _______ day of ___________, 2020.

                                    _________________________________
                                    United States District Judge




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